Case 18-04981-jw        Doc 115      Filed 04/16/20 Entered 04/16/20 09:30:08              Desc Main
                                     Document Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

In re:                                                      Case No. 18-04981-JW
         ERIC JAMES DE WEERD

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       James M. Wyman, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/30/2018.

         2) The plan was confirmed on 04/09/2019.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/06/2019.

         5) The case was dismissed on 03/17/2020.

         6) Number of months from filing to last payment: 16.

         7) Number of months case was pending: 19.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $69,675.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 18-04981-jw        Doc 115         Filed 04/16/20 Entered 04/16/20 09:30:08                       Desc Main
                                        Document Page 2 of 3



 Receipts:

         Total paid by or on behalf of the debtor                $73,599.00
         Less amount refunded to debtor                               $0.00

 NET RECEIPTS:                                                                                      $73,599.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                   $1,000.00
     Court Costs                                                                 $0.00
     Trustee Expenses & Compensation                                         $5,300.59
     Other                                                                       $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                    $6,300.59

 Attorney fees paid and disclosed by debtor:                   $3,100.00


 Scheduled Creditors:
 Creditor                                         Claim         Claim            Claim        Principal       Int.
 Name                                   Class   Scheduled      Asserted         Allowed         Paid         Paid
 Ally Bank                          Secured      617,369.00    627,869.91       627,869.91            0.00        0.00
 American Airlines Advantage        Unsecured     16,294.00            NA               NA            0.00        0.00
 American Arbitration Association   Unsecured      5,040.00            NA               NA            0.00        0.00
 Anthony Page                       Unsecured     50,000.00            NA               NA            0.00        0.00
 BANK OF AMERICA                    Unsecured      4,904.00            NA               NA            0.00        0.00
 BANK OF AMERICA                    Unsecured     40,025.00            NA               NA            0.00        0.00
 BANK OF AMERICA                    Unsecured            NA     21,226.69        21,226.69       4,368.77         0.00
 BANK OF AMERICA                    Secured       51,000.00     32,000.00        32,000.00      32,000.00    1,504.21
 BANK OF AMERICA NA                 Unsecured     16,307.89     16,307.89        16,307.89       3,356.40         0.00
 Bank Of America, N.A.              Secured       21,000.00     21,874.57        21,874.57            0.00        0.00
 BB&T                               Unsecured      4,814.00            NA               NA            0.00        0.00
 BEAUFORT COUNTY BLUFFTON MAG       Priority          838.42           NA               NA            0.00        0.00
 Chris Blankenship                  Unsecured      5,000.00            NA               NA            0.00        0.00
 CJM                                Secured              NA            NA               NA            0.00        0.00
 HILTON HEAD EMERGENCY PHYSICI      Unsecured            NA         185.35           185.35          38.12        0.00
 HOME DEPOT CREDIT SERVICES         Unsecured      3,613.00            NA               NA            0.00        0.00
 Moss Creek Owners Association      Unsecured     17,971.29            NA               NA            0.00        0.00
 Palmetto Pass                      Unsecured      4,956.60            NA               NA            0.00        0.00
 PORTFOLIO RECOVERY ASSOC LLC       Unsecured      8,249.43       8,249.43         8,249.43      1,697.85         0.00
 Renasant Bank                      Secured       55,525.07     21,826.40        21,826.40      21,826.40      788.33
 Sams Club Credit Card              Unsecured      1,896.00            NA               NA            0.00        0.00
 SC DEPT OF REVENUE & TAXATION      Priority             NA       1,212.09         1,212.09      1,212.09         0.00
 SC DEPT OF REVENUE & TAXATION      Secured        1,319.06         106.97           106.97        106.97         5.05
 Spanish Wells HOA                  Secured              NA            NA               NA            0.00        0.00
 Synchrony Bank                     Unsecured      1,916.42       1,916.42         1,916.42        394.22         0.00
 U.S. Bank NA                       Secured       42,940.09            NA               NA            0.00        0.00




UST Form 101-13-FR-S (9/1/2009)
Case 18-04981-jw         Doc 115      Filed 04/16/20 Entered 04/16/20 09:30:08                 Desc Main
                                      Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                $21,826.40         $21,826.40            $788.33
       Debt Secured by Vehicle                           $53,874.57         $32,000.00          $1,504.21
       All Other Secured                                $627,976.88            $106.97              $5.05
 TOTAL SECURED:                                         $703,677.85         $53,933.37          $2,297.59

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00              $0.00
        Domestic Support Ongoing                               $0.00              $0.00              $0.00
        All Other Priority                                 $1,212.09          $1,212.09              $0.00
 TOTAL PRIORITY:                                           $1,212.09          $1,212.09              $0.00

 GENERAL UNSECURED PAYMENTS:                              $47,885.78          $9,855.36              $0.00


 Disbursements:

         Expenses of Administration                             $6,300.59
         Disbursements to Creditors                            $67,298.41

 TOTAL DISBURSEMENTS :                                                                      $73,599.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/16/2020                             By: /s/ James M. Wyman
                                                                    Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
